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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

THE STATE OF GEORGIA,
CIVIL ACTION FILE

v.
No. 1:23-CV-03621-SCJ

MARK R. MEADOWS,
RE: NOTICE OF REMOVAL OF
FULTON COUNTY SUPERIOR
COURT INDICTMENT NO.
23SC188947

Defendant.

ORDER
This matter appears before the Court on an Amicus Curiae’s Motion for
Leave to File Brief as Amici Curiae with Brief In Support.! Doc. No. [24]. As the
Court has already entered an Order on the Emergency Motion which the Amici

wish to comment on, the Court DENIES AS MOOT the Amici’s Motion.

1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.

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IT IS SO ORDERED this_“S ra{_ day of August, 2023.

HONORABLE STEVE C. JONES
UNITED STATES DISTRICT JUDGE

